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SJC-13663

                   KAREN READ    vs.   COMMONWEALTH.



       Suffolk.       November 6, 2024. - February 11, 2025.

   Present:   Budd, C.J., Gaziano, Kafker, Wendlandt, Georges,
                     Dewar, & Wolohojian, JJ.


Supreme Judicial Court, Superintendence of inferior courts.
     Homicide. Motor Vehicle, Homicide, Operating under the
     influence, Leaving scene of accident. Practice, Criminal,
     Mistrial, Double jeopardy, Deliberation of jury,
     Investigation of jurors, Verdict, Affidavit.
     Constitutional Law, Double jeopardy. Jury and Jurors.



     Civil action commenced in the Supreme Judicial Court for
the county of Suffolk on September 11, 2024.

     The case was reported by Dewar, J.


     Martin G. Weinberg (Alan J. Jackson, of California, Michael
Pabian & David R. Yannetti also present) for the petitioner.
     Caleb J. Schillinger, Assistant District Attorney (Laura A.
McLaughlin, Assistant District Attorney, also present) for the
Commonwealth.
     Jessie Rossman, Daniel McFadden, & Michael T. Packard, for
American Civil Liberties Union of Massachusetts, Inc., amicus
curiae, submitted a brief.
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     GEORGES, J.   The defendant challenges the denial of her

motion to dismiss after her first trial ended in a mistrial. 1

That trial was lengthy, spanning eight weeks of evidence,

involving seventy-four witnesses and 657 exhibits.            The

defendant does not contend that this evidence was legally

insufficient to support a conviction on any of the charges,

which would preclude retrial. 2     Instead, her argument focuses on

whether the trial judge properly declared a mistrial and the

relevance, if any, of posttrial accounts of jury deliberations.

     The jury deliberated for five days, sending progressively

insistent notes to the judge about their inability to reach a

unanimous verdict.    In their third and final note, the jury

stated that "[s]ome members . . . firmly believe[d] that the

evidence surpasses the burden of proof establishing the elements

of the charges," while others did not.        They described their

views as rooted in "sincere adherence to [their] individual

principles and moral convictions," and stated that further

deliberation would be "futile" and would "force [them] to




     1 Although Karen Read commenced this action by filing a
petition in the county court, for convenience, we refer to her
as the defendant.

     2 The record submitted to the single justice, and now before
this court, does not contain transcripts of the testimony or the
exhibits from the defendant's first trial.
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compromise these deeply held beliefs."        Based on this final

note, the judge declared a mistrial.

     The defendant's motion to dismiss and this petition rely on

posttrial accounts from several jurors.        These accounts suggest

that, during deliberations, the jury unanimously agreed the

defendant was not guilty on two of the three charges and were

deadlocked only on the remaining charge.        The defendant argues

that a mistrial was thus not manifestly necessary because the

judge could have requested a partial verdict from the jury

before discharging them.     The defendant further asserts that

these posttrial accounts show she was, in effect, acquitted of

two charges, and that double jeopardy bars retrial on those

counts.

     This petition thus raises the question:          Can posttrial

accounts of jurors' private deliberations that are inconsistent

with their public communications in court render the declaration

of a mistrial improper, or constitute an acquittal, where the

jury did not announce or record a verdict in open court?             We

conclude that they cannot.     The jury clearly stated during

deliberations that they had not reached a unanimous verdict on

any of the charges and could not do so.        Only after being

discharged did some individual jurors communicate a different

supposed outcome, contradicting their prior notes.            Such

posttrial disclosures cannot retroactively alter the trial's
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outcome -- either to acquit or to convict.          Accordingly, we

affirm the trial judge's denial of the motion to dismiss and the

defendant's request for a posttrial juror inquiry. 3

     Background.   1.   Trial and deliberations.         In 2022, a grand

jury returned three indictments against the defendant:              murder

in the second degree, G. L. c. 265, § 1 (count one);

manslaughter while operating a motor vehicle under the influence

of alcohol, G. L. c. 265, § 13 1/2 (count two); and leaving the

scene of personal injury resulting in death, G. L. c. 90,

§ 24 (2) (a 1/2) (2) (count three).         Trial began in April 2024

and lasted over two months.     On the thirty-seventh day, the jury

received instructions regarding the three indictments, and two

lesser included offenses for count two:         involuntary

manslaughter and motor vehicle homicide.

     Before deliberations began, the judge indicated that the

foreperson of the jury would be given separate verdict slips for

each of the three indictments.      The judge then explained the

procedure for delivering the verdicts:

     "After the final vote of the jury, the foreperson should
     check the appropriate boxes as to each charge, then sign
     and date the verdict slips and notify the court officer
     that you have reached a unanimous verdict. You will then
     be brought back into the courtroom, where the foreperson
     will deliver the verdicts to the Court."


     3 The motion filed by the American Civil Liberties Union of
Massachusetts, Inc., seeking leave to file an amicus curiae
brief, is hereby allowed.
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The judge also instructed the jury to "continue deliberating

until you have reached a final verdict on each charge," and to

not disclose their numerical standing or progress to anyone,

including the judge, "before such time as you have reached a

unanimous verdict."    The jury then began deliberations.

     Three days later, after approximately nineteen hours of

deliberations, the foreperson submitted a note to the judge

(first note) that stated:

     "I am writing to inform you, on behalf of the jury, that
     despite our exhaustive review of the evidence and our
     diligent consideration of all disputed evidence, we have
     been unable to reach a unanimous verdict."

After reading the note into the record, the judge requested

argument from the parties on whether the jury had conducted "due

and thorough" deliberations, warranting a so-called Tuey-

Rodriquez charge. 4   The Commonwealth argued that the jury had not

deliberated long enough, while the defense disagreed, requesting

the instruction and asserting that the foreperson's use of the

word "exhaustive" suggested "an impasse."         The judge determined


     4 See Commonwealth v. Rodriquez, 364 Mass. 87, 101-102
(1973) (Appendix A); Commonwealth v. Tuey, 8 Cush. 1, 2-3
(1851). The Tuey–Rodriquez charge is a model instruction "given
when jurors report deadlock after 'due and thorough
deliberation'" that is "designed to urge the jury to reach a
verdict by giving more serious consideration to opposing points
of view." Commonwealth v. Carnes, 457 Mass. 812, 827 (2010).
Once a deadlocked jury receives the Tuey–Rodriquez charge and
resumes their deliberations, "they shall not be sent out again
without their own consent." G. L. c. 234A, § 68C.
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that further deliberation was appropriate and instructed the

jury to continue.

     Deliberations extended through the afternoon and resumed

the following Monday morning.      At 10:45 A.M., the jury

foreperson submitted another note to the judge (second note),

which stated:

     "Despite our commitment to the duty entrusted to us, we
     find ourselves deeply divided by fundamental differences in
     our opinions and state of mind.

     "The divergence in our views are [sic] not rooted in a lack
     of understanding or effort, but deeply held convictions
     that each of us carry ultimately leading to a point where
     consensus is unattainable.

     "We recognize the weight of this admission and the
     implications it holds."

Upon receiving this note, the judge again invited argument from

both parties.   The Commonwealth acknowledged that the jury had

already deliberated "in the vicinity of 22 or 23 hours," 5 but

nonetheless argued it was premature to conclude their

deliberations had been due and thorough.        Defense counsel,

however, maintained that the jury were "hopelessly deadlocked,"

and again requested the Tuey-Rodriquez instruction.            The judge

agreed with defense counsel, noting that the jury had been

"extraordinary" and that she had "never seen a note like this


     5 Although the transcript does not state the precise time
that deliberations resumed on Monday morning, based on prior
proceedings it appears the jury had deliberated closer to
twenty-four or twenty-five hours by this point.
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reporting to be at an impasse."      The judge then delivered the

Tuey-Rodriquez instruction to the jury and sent them back to

deliberate further.

     At approximately 2:30 P.M., the foreperson submitted yet

another note to the judge (third note), which stated:

     "Despite our rigorous efforts, we continue to find
     ourselves at an impasse.

     "Our perspectives on the evidence are starkly divided.
     Some members of the jury firmly believe that the evidence
     surpasses the burden of proof establishing the elements of
     the charges beyound [sic] a reasonable doubt.
     Convers[e]ly, others find the evidence fails to meet this
     standard, and does not sufficiently establish the necessary
     elements of the charges[.]

     "The deep division is not due to a lack of effort or
     diligence, but rather a sincere adherence to our individual
     principles and moral convictions.

     "To continue to deliberate would be futile and only serve
     to force us to compromise these deeply held beliefs."

After receiving the third note, the judge informed counsel that

"[t]he jury is at an impasse."      The jury were called back into

the court room, and the third note was read aloud into the

record.   Upon reaching the final line -- stating that further

deliberation would "force [the jury] to compromise these deeply

held beliefs" -- the judge addressed the jury, saying, "I am not

going to do that to you . . . folks," and declared a mistrial.

     The judge then discharged the jury back to the deliberation

room, explaining that she would meet them there privately to

thank them for their service.      The judge and the parties
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remained in the court room to discuss their availability for

scheduling a status conference on the matter.           At no point

during this discussion did defense counsel object to the judge's

declaration of a mistrial or express disagreement with that

outcome.

     2.    Posttrial events.   According to affidavits submitted by

defense counsel, a member of the deliberating jury (juror A)

contacted defense counsel on July 2, 2024, after noticing

"inaccurate reports" about the jury's alleged "split" that

caused the mistrial the day before.         Juror A stated that the

jury had unanimously agreed that the defendant was not guilty of

count one (murder in the second degree) and count three (leaving

the scene of personal injury resulting in death).

     Two days after the mistrial, defense counsel also received

screenshots 6 of text message exchanges with jurors or their

acquaintances describing the deliberations.          In one exchange,

another member of the jury (juror B) wrote, "It was not guilty

on second degree.    And split in half for the second charge." 7             In

another exchange, an individual (referred to as an "[i]nformant"


     6 "A screenshot is a copy of the image displayed by a
computer screen" (quotation and citation omitted). Commonwealth
v. Cronin, 495 Mass. 170, 171 n.2 (2025).

     7 One month later, juror B contacted defense counsel to
confirm the content of this exchange, and further asserted that
the jury had unanimously agreed the defendant was not guilty of
count three as well.
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by defense counsel) was advised that another juror (juror C) had

told friends there was "no consideration" of murder in the

second degree and that the jury deadlocked on "the remaining

charges."    The exchange contained no mention of count three, but

it stated that "manslaughter started polling at 6/6 then ended

deadlock [sic] @ 4no8yes."     Juror C had also reportedly stated

that the jurors had "a group text going."         Upon receiving this

information, the informant commented, "[I]f they all agreed on

no for murder two[,] they should make that clear to the DA[] and

the court.   [I]t's basically a case of double jeopardy if she is

retried on that charge."

     On July 8, 2024, one week after the mistrial, the defendant

filed a motion to dismiss based on these posttrial accounts.

The defendant argued that the accounts showed the jury had

effectively acquitted her of counts one (murder in the second

degree) and three (leaving the scene of personal injury

resulting in death).    She further contended that the judge's

mistrial declaration was improper for these two counts and

requested, at minimum, a postverdict inquiry to confirm whether

the jury had agreed she was not guilty of those charges.

     Defense counsel later supplemented the motion with accounts

from two additional jurors.     One juror (juror E) stated that the

jury had been deadlocked only on the "lower charges on count 2."

The other juror (juror D) stated that the jury's disagreement
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solely concerned "Count 2 and its lesser offenses."             Juror D

indicated that the jury had debated whether to inform the judge

of their decision on counts one and three, but they were

uncertain "if they were allowed" to do so.           Juror D claimed

that, after discussing the matter, the jury ultimately "decided

to inform the court that they were deadlocked, and they expected

they would get further instruction about the remaining (decided)

counts thereafter."

     The Commonwealth also submitted a posttrial filing

notifying the court that, after the submission of defense

counsel's affidavits, it had received two voicemail messages

from a member of the jury.       The juror specified that the jury

had voted not guilty on counts one and three, "and as of last

vote[,] 9-3 guilty . . . on the lower-level manslaughter

charges."   The Commonwealth also received e-mail messages from

three individuals who identified themselves as jurors and asked

to speak anonymously.       Once the Commonwealth informed them that

it may be required to disclose the substance of their

communications to defense counsel or the court, however, the

jurors declined to communicate further.

     The trial judge denied the defendant's motion to dismiss

after a nonevidentiary hearing.        The judge reasoned that,

"[b]ecause there was no open and public verdict affirmed in the

open court rendered in this case, the defendant was not
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acquitted of any of the charges," and that any posttrial voir

dire of jurors would involve an impermissible inquiry into the

substance of the jury's deliberations.

     Additionally, the judge rejected the defendant's argument

that declaring a mistrial was improper.        She noted that defense

counsel had twice requested the Tuey-Rodriquez instruction --

"the final step" preceding a mistrial -- and raised no

objections nor made any request to be heard when the mistrial

was declared.   The judge remarked that "defense counsel were no

shrinking violets" during the trial, making it unlikely that,

"when counsel heard that the jury was at an impasse for a third

time and a mistrial was inevitable, at perhaps the most crucial

point in the trial, counsel would sit silently if they did not

consent to a mistrial."     She also concluded that, in any event,

the mistrial was manifestly necessary given the jury's repeated

statements of deadlock.

     On September 11, 2024, the defendant filed a petition for

relief under G. L. c. 211, § 3, in the county court. 8           A single




     8 Although a defendant ordinarily is not entitled to
interlocutory review of the denial of a motion to dismiss, we
have recognized a narrow exception to this general rule in the
context of double jeopardy claims. See Neverson v.
Commonwealth, 406 Mass. 174, 175 (1989). The Commonwealth does
not contest that interlocutory review is appropriate in the
circumstances of the instant case.
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justice of this court reserved and reported the matter, without

decision, to the full court. 9

     Discussion.    1.   Propriety of declaring a mistrial.           The

double jeopardy clause of the Fifth Amendment to the United

States Constitution "generally preclude[s] the Commonwealth from

trying a defendant more than once for the same offense."

Commonwealth v. Phim, 462 Mass. 470, 473 (2012).             See Benton v.

Maryland, 395 U.S. 784, 787, 795-796 (1969) (Federal double

jeopardy clause applicable to States by Fourteenth Amendment).

However, an exception to this general rule applies when a

mistrial is declared due to "manifest necessity" (citation

omitted).   Ray v. Commonwealth, 463 Mass. 1, 3 (2012).            In such

instances, the double jeopardy clause does not bar the State

from retrying the defendant.      See id.

     To determine whether the declaration of a mistrial is

manifestly necessary, a trial judge balances "the defendant's

valued right to have his or her trial completed by a particular

tribunal against the interest of the public in fair trials

designed to end in just judgments" (quotations and citation

omitted).   Commonwealth v. Edwards, 491 Mass. 1, 17 (2022).             A

hung jury has long been recognized as "a traditional example" of




     9 At the time this matter was reserved and reported, the
defendant's retrial was scheduled to begin on January 27, 2025.
The retrial has since been continued until April 2025.
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manifest necessity, allowing retrial without offending the

defendant's double jeopardy rights.          Commonwealth v. Troila, 410

Mass. 203, 206 (1991).       See Richardson v. United States, 468

U.S. 317, 326 (1984) ("jeopardy does not terminate when the jury

is discharged because it is unable to agree").

     The decision to declare a mistrial is entrusted to the

"sound discretion" of the trial judge.         Commonwealth v. Bryan,

476 Mass. 351, 352 (2017).       Trial judges receive such discretion

to avoid the possibility of coercive measures being used to

force jury agreement, thereby protecting the fairness of the

proceedings.    See A Juvenile v. Commonwealth, 392 Mass. 52, 55

(1984).   See also Renico v. Lett, 559 U.S. 766, 774 (2010).              In

evaluating whether a trial judge abused his or her discretion in

declaring a mistrial, a reviewing court considers whether the

judge carefully explored "alternatives to a mistrial," and

whether counsel were "given full opportunity to be heard"

(citation omitted).    Commonwealth v. Taylor, 486 Mass. 469, 484–

485 (2020).    If these principles were followed, and there is no

claim of insufficient evidence to support a conviction, "double

jeopardy will not prevent [the defendant's] retrial" (citation

omitted). 10   Ray, 463 Mass. at 4.




     10The defendant has not argued that the evidence presented
at her first trial was legally insufficient to sustain a
conviction, and we thus do not address the issue.
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     Here, we discern no abuse of discretion in the trial

judge's decision that the jury were at an impasse and that a

mistrial was manifestly necessary.         After extensive, multiday

deliberations, the jury submitted several increasingly emphatic

notes about their inability to reach a unanimous verdict.              By

the time the jury sent their first note, they had deliberated

for approximately nineteen hours, over four days.            That note

stated that they had conducted an "exhaustive review of the

evidence," and given "diligent consideration of all disputed

evidence."    Following the judge's instruction to continue their

deliberations, the jury deliberated for another five to six

hours -- spanning a Friday afternoon and the following Monday

morning -- before sending a second note that was noticeably more

definitive.   That note stated jurors were "deeply divided by

fundamental differences" and that "consensus [was]

unattainable," echoing language from other cases where we have

characterized a jury's report of deadlock as "unambiguous."

See, e.g., Ray, 463 Mass. at 5 (concluding that jury note

stating jurors were "hopelessly deadlocked" was "unambiguous"

about their inability to agree); Fuentes v. Commonwealth, 448

Mass. 1017, 1018 (2007) (final note stating that jurors were

"unable to come to a unanimous decision" unequivocally reflected

that they were deadlocked).
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     The second note further emphasized that the deadlock arose

not from "a lack of understanding or effort," but from "deeply

held convictions that each of [the jurors] carr[ied]."            By this

point, the jury had already deliberated approximately twenty-

four hours, see note 5, supra, and defense counsel described

them as "hopelessly deadlocked."      But the trial judge did not

immediately conclude that all hope of attaining a verdict was

lost.   Instead, she issued the Tuey-Rodriquez charge, a standard

instruction that encourages deadlocked juries to "reach a

verdict by giving more serious consideration to opposing points

of view" (citation omitted).     Commonwealth v. Chalue, 486 Mass.

847, 860 (2021).

     After nearly four hours of additional deliberation –-

bringing the total to approximately twenty-eight hours -- the

jury submitted a third note that was even more emphatic.             It

stated that further deliberations "would be futile and only

serve to force us to compromise [our] deeply held beliefs."

While there is no "mechanical formula" for determining whether a

jury is genuinely deadlocked, see Ray, 463 Mass. at 4-5, quoting

Illinois v. Somerville, 410 U.S. 458, 462 (1973), the trial

judge acted well within her discretion in concluding the jury

were at an impasse and a mistrial was manifestly necessary.

     The defendant contends that, despite the jury's deadlock,

the trial judge failed to adequately consider alternatives to
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declaring a mistrial.       Yet, as discussed, the trial judge did

consider and pursue such alternatives.         After the first note

reporting deadlock, the judge instructed jurors to continue

their deliberations.    After the second note, the judge issued

the Tuey-Rodriquez charge.       It was only when the jury submitted

their third report of deadlock, at which point the judge was

statutorily precluded from ordering them to continue

deliberations without their consent, see G. L. c. 234A, § 68C,

that the judge declared a mistrial.          Nonetheless, the defendant

argues that the judge should have inquired whether the jury had

reached agreement on any of the charges.          Had the judge done so,

the defendant asserts, she would have discovered that the jury

had agreed on counts one and three, allowing for a partial

verdict.   We disagree.

     Rule 27 (b) of the Massachusetts Rules of Criminal

Procedure, 378 Mass. 897 (1979), "gives a trial judge discretion

to require a jury to return a verdict" for charges on which they

have unanimously agreed before declaring a mistrial (quotation

and citation omitted).       Commonwealth v. Floyd P., 415 Mass. 826,

830 (1993).   See Mass. R. Crim. P. 27 (b) ("judge may first

require the jury to return verdicts on those charges upon which

the jury can agree and direct that such verdicts be received and

recorded" [emphasis added]).       Rule 27 (d) also permits a judge

to poll the jury "[w]hen a verdict is returned and before the
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verdict is recorded."        Mass. R. Crim. P. 27 (d).         However, "a

judge is not required to accept" a partial verdict before

declaring a mistrial, Daniels v. Commonwealth, 441 Mass. 1017,

1018 n.3 (2004), and is prohibited from doing so on a single

indictment that contains lesser included offenses, see

Commonwealth v. Roth, 437 Mass. 777, 787 (2002).

     Here, the jury were instructed on three separate

indictments, along with two lesser included offenses on count

two, but the trial record offers no indication that a partial

verdict was imminent or possible.         The jury's first note simply

stated they were "unable to reach a unanimous verdict," without

reference to any specific charge.         The second note reiterated

that consensus was unattainable and acknowledged "the

implications" of the jury's deadlock.          Neither note suggested

the jury had reached, or could reach, consensus on any subset of

the charges, 11 and we have cautioned against assuming a final

verdict exists from general reports of deadlock.               See Roth, 437

Mass. at 793–794.




     11As the trial judge observed in her memorandum of decision
denying the defendant's motion to dismiss, it is particularly
striking that the jury notes provided "no inkling" of agreement
on any of the charges. Additionally, the notes did not request
clarification on whether a partial verdict could be returned.
This absence is particularly significant given the evident "care
that went into writing the notes and how articulately they
expressed the jurors' disagreement."
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     In fact, the jury's third note implied they were deadlocked

on all charges.   That note stated, in part:

     "Some members of the jury firmly believe that the evidence
     surpasses the burden of proof establishing the elements of
     the charges [beyond] a reasonable doubt. Convers[e]ly,
     others find the evidence fails to meet this standard, and
     does not sufficiently establish the necessary elements of
     the charges" (emphases added).

Although the defendant relies on posttrial affidavits to suggest

"the charges" referred only to count two and its lesser included

offenses, we assess the trial judge's decision based on what was

known at the time of her decision.           See Commonwealth v. Torres,

453 Mass. 722, 736 (2009).       As one court has observed, allowing

posttrial juror accounts to affect the analysis "would create

endless confusion and controversy" in cases where a mistrial has

already been declared due to deadlock.          Fitzgerald v. Lile, 732

F. Supp. 784, 789 (N.D. Ohio), aff'd, 918 F.2d 178 (6th Cir.

1990).

     In short, the record before the trial judge suggested

complete deadlock.   The first and second notes provided no

indication of a partial consensus, and the third note plainly

implied the opposite.       See State v. Fennell, 431 Md. 500, 522

(2013), and cases cited ("the mere theoretical availability of

partial verdicts" does not obligate trial judge to conduct

further inquiry where "no party has requested a partial verdict

be taken or the jury does not indicate that it has reached
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one").   Further still, these notes indicated that additional

inquiry into the jury's deliberations risked producing a coerced

verdict.

     Judges must carefully avoid actions that might pressure

jurors into compromising their genuine views of the evidence.

See Commonwealth v. Foster, 411 Mass. 762, 765 (1992).             And we

have long recognized that "deadlocked juries are particularly

susceptible to coercion."     Roth, 437 Mass. at 791.        See

Commonwealth v. O'Brien, 65 Mass. App. Ct. 291, 295 (2005), and

cases cited.   It is precisely for this reason that judges are

statutorily prohibited from ordering further deliberations by a

deadlocked jury that has twice reported being at an impasse

after due and thorough deliberation, unless they explicitly

consent or seek clarification on the law.        See Commonwealth v.

Tiscione, 482 Mass. 485, 492 (2019), quoting G. L. c. 234A,

§ 68C ("If, after 'due and thorough deliberation,' the jury

report to the judge twice that they are deadlocked, 'they shall

not be sent out again without their own consent, unless they ask

from the court some further explanation of the law'").             The risk

of coercion is also heightened when a judge inquires about the

possibility of a partial verdict following a deadlock.             As we

have explained:

     "Where the jurors have twice reported themselves
     deadlocked, and have already heard the Tuey-Rodriquez
     charge, a judge's inquiry concerning partial verdicts
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     cannot avoid communicating to the jury the judge's desire
     to salvage something from the trial. However the inquiry
     is articulated or explained, the import of the inquiry is
     unmistakable: 'Can't you at least decide a part of this
     case?' The inquiry, by its nature, plays on the deadlocked
     jurors' natural sense of frustration, disappointment, and
     failure. The jurors are confronted with the request, and
     asked to absorb its inherent complexity, at the worst
     possible time, when they are tired, anxious to be
     discharged, and perhaps angry at fellow jurors whom they
     blame for failing to reach agreement."

Roth, supra at 792.

     In this case, the risks of coercion were evident.              After

receiving the third note, the judge was statutorily barred from

ordering further deliberation without the jury's consent.               See

G. L. c. 234A, § 68C.       Far from suggesting that consent might be

obtained, the third note made clear that further deliberation

would "only serve to force [the jurors] to compromise . . .

deeply held beliefs" rooted in "sincere adherence to [their]

individual principles and moral convictions."            See Commonwealth

v. Winbush, 14 Mass. App. Ct. 680, 682 (1982) (statutory

prohibition on ordering further deliberation was designed to

prevent jurors "from being coerced into reaching a verdict in

the face of views conscientiously reached and held").              Asking

jurors whether they would nonetheless consent to further

deliberation would have implicitly pressured them to compromise

those beliefs in order to "salvage" some part of the trial.

Roth, 437 Mass. at 792.      In these circumstances, "[t]here is

simply too great a risk" that any resulting verdict "would
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merely be the product of one hasty, final attempt to satisfy the

judge's apparent desire for some form of decision on the case."

Id. at 793.    And if the judge were to inquire about the

possibility of a partial verdict, "by definition, any further

discussion amongst the jurors regarding their response to the

judge's partial verdict inquiry would itself be further

deliberation" in violation of the statute.         Id. at 792.

       Indeed, if the judge had inquired about a partial verdict

on her own initiative, and the jury returned a verdict of guilty

on any of the counts, "there is no question that this defendant

would be making a strenuous -- and potentially meritorious --

argument that that guilty verdict was the product of coercive

intrusion into the function of the jury."        Roth, 437 Mass. at

792.    Thus, given the entire course of jury deliberations, and

the emphatic language of the third note that jurors were

deadlocked on "the charges" and that further deliberation would

be coercive, the judge acted within her discretion in declaring

a mistrial without inquiring sua sponte about a partial verdict.

See Fuentes, 448 Mass. at 1018–1019 (judge was not required to

ask jury if they would consent to further deliberations before

declaring mistrial because jury had already received Tuey-

Rodriquez instruction and final note unequivocally stated they

were deadlocked); Daniels, 441 Mass. at 1018 n.3.
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     For much the same reason, the trial judge's decision not to

poll the jury sua sponte to confirm the deadlock before

declaring a mistrial did not constitute an abuse of discretion.

As we explained in Ray, 463 Mass. at 5 n.5, polling jurors about

"whether further instructions or deliberation would be likely to

resolve the deadlock" is discouraged due to the "risk of

coercion inherent in questioning jurors, particularly in

individual colloquies."     A trial judge is not "required to

consider every conceivable alternative before declaring a

mistrial," and we discern no abuse of discretion in the judge

not pursuing alternatives suggested, after the fact, by defense

counsel based on information obtained after the mistrial was

declared.   Commonwealth v. Cassidy, 410 Mass. 174, 179 (1991)

("If an alternative which was neither suggested by counsel nor

considered by the judge is later developed, we will not fault

the judge, so long as an honest inquiry into alternatives is

made").   See generally Blueford v. Arkansas, 566 U.S. 599, 609–

610 (2012) ("We have never required a trial court, before

declaring a mistrial because of a hung jury, to consider any

particular means of breaking the impasse -- let alone to

consider giving the jury new options for a verdict").

     The defendant further contends, separately from the

availability of alternatives, that it was an abuse of discretion

to declare a mistrial without first notifying defense counsel of
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the content of the third note and allowing an opportunity to be

heard.    First, it is worth noting that the trial judge

discredited defense counsel's claim that he lacked such an

opportunity.    See generally Commonwealth v. Garner, 490 Mass.

90, 94 (2022) (appellate courts defer to credibility

determinations of trial judge).      The judge explained that she

had previously sought defense counsel's views after receiving

each of the first two jury notes, when counsel had argued that

the jury were at an impasse.     The only alternative proposed by

defense counsel during these exchanges was the issuance of a

Tuey-Rodriquez charge, which the judge granted.             When the third

note prompted the mistrial, defense counsel neither objected nor

expressed any dissatisfaction, even when the parties remained in

the court room to schedule a subsequent status conference.

     In any event, there is no indication that inviting defense

counsel to participate in a third round of "consultation would

have produced any fruitful alternatives."        Fuentes, 448 Mass. at

1019.    As discussed, the receipt of the third note barred the

judge from "requiring further deliberation without the jury's

consent" because they had already engaged in due and thorough

deliberations and twice reported being deadlocked.            Commonwealth

v. Carnes, 457 Mass. 812, 829 (2010).       Furthermore, nothing

suggested that defense counsel would have requested an inquiry

into the possibility of a partial verdict based on the content
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of the jury notes. 12   See Oliver v. Justices of the N.Y. Supreme

Court of N.Y. County, 36 N.Y.2d 53, 58 (1974) ("Having displayed

no enthusiasm for the rendering of a partial verdict while the

jury was still impaneled, and a guilty verdict still possible,

the defense may not seek to overturn the court's order of

mistrial after discharge of the jury . . .").           While the more

prudent course might have been to read the third note to counsel

and provide yet another opportunity to be heard before declaring

a mistrial, the trial judge did not abuse her discretion in

failing to do so.    See Fuentes, supra.

     In sum, we conclude that the trial judge acted within her

discretion in declaring a mistrial without first inquiring about

a partial verdict or offering defense counsel an additional

opportunity to be heard.      Considering the length of jury

deliberations, the judge's prior efforts to encourage consensus,

and the increasingly emphatic tone of the jury notes indicating

deadlock, it was clear the jury had reached an impasse.




     12 It is difficult to imagine that a competent defense
attorney, upon learning that some members of the jury "firmly
believe[d]" the evidence proved "the elements of the charges"
beyond a reasonable doubt, would request that the jury be
instructed to return verdicts on any charges where agreement had
been reached. As other courts have recognized, "[a] defendant
may have a tactical reason for not requesting the trial court to
question the jury about a partial verdict," and trial judges
should not be required to inquire about partial verdicts on
their own initiative. State v. Tate, 256 Conn. 262, 286 n.16
(2001).
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Furthermore, nothing suggested that the deadlock was limited to

a specific charge; on the contrary, the notes contained no

inkling of agreement, and the third note implied the jury were

deadlocked on all charges.     Under these circumstances, given the

content of the notes and the fact that defense counsel did not

request further inquiry, engaging in one sua sponte risked

coercing a verdict.   Thus, the judge appropriately exercised her

discretion in declaring a mistrial based on manifest necessity.

See Daniels, 441 Mass. at 1017, and cases cited (judge did not

abuse discretion in declaring mistrial after four days of

deliberation where jury had reported impasse and received Tuey-

Rodriquez charge but remained unable to reach verdict and

stated, in response to judicial inquiry, that additional

deliberation would not result in verdict).         See also Fuentes,

448 Mass. at 1018–1019 (no abuse of discretion in declaring

mistrial without first asking whether jury would consent to

deliberate further where jury had already been given Tuey-

Rodriquez instruction and final jury note "unequivocally stated

that the jury were 'unable to come to a unanimous decision'"). 13


     13Because we conclude that the trial judge acted within her
discretion in determining that declaring a mistrial was
manifestly necessary, we do not need to address the defendant's
alternative argument that defense counsel did not consent to the
mistrial. Similarly, we do not address the defendant's
ancillary argument, raised here for the first time, that the
court should have conducted a colloquy with the defendant before
finding such consent. But see Daniels, 441 Mass. at 1018 n.2
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     2.   Defendant's claims of acquittal.       The defendant

separately argues that she cannot be retried on count one or

count three, regardless of whether the mistrial declaration was

proper.   She contends that posttrial information from five

deliberating jurors 14 -- indicating the jury were deadlocked only

on count two and had unanimously found her not guilty on counts

one and three 15 -- effectively amounts to an acquittal of those

counts.   Alternatively, she asserts that the trial judge abused

her discretion in denying a posttrial inquiry to verify these

accounts of juror deliberations.      We examine each contention

below.

     a.   Claim of acquittal based on juror disclosures.            The

double jeopardy clause of the United States Constitution

prohibits retrial for the same offense after an acquittal.              See

McElrath v. Georgia, 601 U.S. 87, 93-94 (2024).             See also G. L.




("That [the defendant] did not personally assent to the mistrial
makes no difference"). Cf. Poretta v. Commonwealth, 409 Mass.
763, 766 (1991) ("there can be no doubt that the Federal
Constitution does not condition the permissibility of retrial on
the defendant's personal, explicit assent to a mistrial motion
brought by his attorney").

     14For purposes of adjudicating the motion to dismiss, the
trial judge accepted the purported juror statements as true and
accurate. For purposes of this discussion, we similarly proceed
from the assumption that the affidavits are accurate.

     15Juror C did not disclose information indicating whether
the jury had unanimously agreed that the defendant was not
guilty on count three.
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c. 263, § 7.   To determine whether an acquittal has occurred, we

look to whether, "given the operation of state law," the jury

"acted on [their] view that the prosecution had failed to prove

its case" (citation omitted).     McElrath, supra at 96.         Because

this presents a legal question, our review of the trial judge's

decision is de novo.    Commonwealth v. Hebb, 477 Mass. 409, 411

(2017).

     Relevant here, "the fundamental requirements" for a jury's

issuance of a verdict in a criminal case are set forth in Mass.

R. Crim. P. 27 (a).    Roth, 437 Mass. at 786.       Pursuant to that

rule, a valid jury verdict must be unanimous and "returned by

the jury to the judge in open court."       Mass. R. Crim. P. 27 (a).

Our case law confirms that a criminal verdict is effective only

when affirmed by jurors in open court.       See A Juvenile, 392

Mass. at 56-57, quoting Lawrence v. Stearns, 11 Pick. 501, 502

(1831) ("The only verdict which can be received and regarded, as

a complete and valid verdict of a jury, upon which a judgment

can be rendered, is an open and public verdict, given in and

assented to, in open court, as the unanimous act of the jury,

and affirmed and entered of record, in the presence and under

the sanction of the court").     In other words, the distinction

between informal "agreement on a verdict" and the actual

"return, receipt, and recording of a verdict" in open court is

central -- only the latter constitutes a final verdict of the
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jury on a criminal charge.      A Juvenile, supra, quoting

Commonwealth v. Kalinowski, 12 Mass. App. Ct. 827, 830 (1981).

We have consistently reaffirmed this long-standing distinction

throughout our jurisprudence. 16

     In this case, it is undisputed that the jury did not

announce a final verdict on any charge.         Although the defendant

has submitted affidavits claiming the jurors reached an

agreement on counts one and three during deliberations, the only

statements made in open court reflected the jury's inability to

reach a unanimous verdict.      As discussed, the jury submitted

three separate notes to the judge indicating deadlock --

culminating in a final note indicating that "[s]ome members of

the jury firmly believe[d] that the evidence surpasse[d] the

burden of proof establishing the elements of the charges," while

others did not.


     16See Commonwealth v. Tennison, 440 Mass. 553, 561 (2003)
(initial verdict "was sealed but not yet valid because it was
not given and affirmed orally by the jurors in open court");
Gelmette v. Commonwealth, 426 Mass. 1003, 1003 (1997) (polling
of jurors, after declaration of mistrial in murder case, showing
that eleven had voted to convict defendant of lesser included
offense of manslaughter, and one had voted to acquit, "was of no
effect and . . . did not constitute an acquittal on so much of
the indictment as charged murder in the first and second
degree"). See also Rich v. Finley, 325 Mass. 99, 105 (1949) (no
final verdict where one juror died after jury had unanimously
agreed to verdict, but before jury announced that verdict in
open court); Lawrence, 11 Pick. at 502 (no final verdict where
jury had come to unanimous agreement, but where one juror
changed his mind following morning when jury met to return final
verdict); Kalinowski, 12 Mass. App. Ct. at 830.
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     Far from an "affirmation in open court" of unanimous

agreement on counts one and three, see A Juvenile, 392 Mass. at

57, these notes clearly reflected a lack of consensus on "the

charges."   Even if the jury's deadlock pertained specifically to

count two, their notes made no such distinction, nor did they

indicate any verdict would be returned "to the judge in open

court," as required by Mass. R. Crim. P. 27 (a).             In the absence

of a verdict returned, received, and recorded in open court, we

cannot conclude that the jury "acted on [their] view that the

prosecution had failed to prove its case" (citation omitted).

McElrath, 601 U.S. at 96.      See Clark v. State, 170 Tenn. 494,

502 (1936) ("however fully it may be made to appear that the

jury arrived among themselves at the decision that [the

defendant] was not guilty, there is no claim that they agreed to

so report or return, or that they agreed to report any agreement

whatever, except that they could not agree"). 17




     17The circumstances of Clark, 170 Tenn. 494, are very
similar to those at issue here. There, a defendant argued that
he had been acquitted at his first trial, after learning that
the jury had agreed he was not guilty and had deadlocked only as
to his codefendant. See id. at 497. Rejecting this argument,
the Supreme Court of Tennessee explained:

     "Agreement on the issue of guilt or innocence is of the
     very essence of a verdict. . . .

     "We have here no 'verdict' reported, and none 'agreed on
     and intended to be expressed.' It is conceded here that
     the report of disagreement was that intended to be
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     The defendant nonetheless argues that "any lack of

formality" in the jurors' intended dispositions of counts one

and three should not prevent those dispositions from taking

legal effect.   However, the requirement that a verdict be

returned and affirmed in open court is far from a mere

formality.   Rather, "[t]hese principles recognize that, as a

practical matter, jurors may agree in the course of

deliberations to a tentative compromise on the facts of a case

or on the disposition of related charges as they attempt to

reach unanimous agreement."     Floyd P., 415 Mass. at 831.           See

Blueford, 566 U.S. at 608.     Since "[a] jury should not be

precluded from reconsidering a previous vote on any issue"

(citation omitted), A Juvenile, 392 Mass. at 56, tentative or

conditional agreements reached amid deliberations "cannot have

the force of a final verdict," Floyd P., supra.             See A Juvenile,

supra ("A jury should not be precluded from reconsidering a

previous vote on any issue, and the weight of final adjudication

should not be given to any jury action that is not returned in a

final verdict" [citation omitted]).

     Requiring a jury to publicly affirm their verdict in open

court thus serves a vital purpose -- it ensures that the verdict



     reported. This determinative distinction runs through all
     the cases we have examined." (Citation omitted.)

Id. at 501, 503.
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agreed upon in private truly reflects the unanimous and

deliberate judgment of each juror under public scrutiny, rather

than a tentative compromise.      See Commonwealth v. Lawson, 425

Mass. 528, 530 (1997).      See also People v. Thornton, 155 Cal.

App. 3d 845, 859 (1984).      Maintaining this distinction between

private deliberations and public verdicts is essential to

preserving both the confidentiality of jury discussions and the

integrity of the judicial system.       Thus, because the jury did

not publicly affirm that the defendant was not guilty of the

charges, there was no acquittal barring retrial under the double

jeopardy clause.   See A Juvenile, 392 Mass. at 56-57 (signed

verdict slips reflecting votes of not guilty, found in

deliberation room after mistrial had been declared due to

deadlock, did not constitute acquittals).         See also Commonwealth

v. Mayfield, 398 Mass. 615, 630 (1986) (information indicating

that "jury were deadlocked, eleven to one, for conviction of

murder but only in the second degree," and had purportedly

agreed that defendant was not guilty of murder in first degree,

did not bar retrial because "[t]here was no open and public

verdict of not guilty").

     b.   Request for posttrial juror inquiry.          Finally, we

consider the denial of the defendant's request for a posttrial

juror inquiry.   Generally, a judge is not obligated to

investigate jury deliberations unless there is evidence that
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jurors were exposed to extraneous information or demonstrated

racial or ethnic bias.      See Commonwealth v. Pytou Heang, 458

Mass. 827, 858 (2011).      Even in cases of alleged bias, however,

judicial inquiry cannot delve into jurors' subjective reasoning

or deliberative content.      See Matter of the Enforcement of a

Subpoena, 463 Mass. 162, 168 (2012).        Because the trial judge is

afforded "broad discretion" in assessing whether a posttrial

juror inquiry is appropriate, Commonwealth v. Guisti, 434 Mass.

245, 251 (2001), S.C., 449 Mass. 1018 (2007), we review that

determination only for an abuse of discretion, see Pytou Heang,

supra.

     Here, the defendant concedes that the affidavits do not

indicate exposure to extraneous matters or juror bias that would

suggest her right to an impartial jury was compromised.

Contrast Commonwealth v. McCalop, 485 Mass. 790, 799 (2020).

Instead, she argues that the affidavits suggest an "unannounced

verdict" warranting further inquiry.        Yet, as discussed, a

verdict, as a matter of law, requires a public announcement in

open court.   No verdict exists if none was announced, or even

intended to be announced, by the jury before they were

discharged.   See Commonwealth v. Brown, 367 Mass. 24, 28 (1975),

S.C., 378 Mass. 165 (1979) and 470 Mass. 595 (2015) ("once the

jury have been discharged, they have no further power to

deliberate or to agree to a verdict").
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     Allowing inquiry into a private agreement reached in the

secrecy of the deliberation room would also contravene our

prohibition on probing the content of juror deliberations.

Maintaining the secrecy of those deliberations is a "bedrock of

our judicial system" (citation omitted).        Commonwealth v. Moore,

474 Mass. 541, 548 (2016), S.C., 489 Mass. 735 (2022).             See

Woodward v. Leavitt, 107 Mass. 453, 460 (1871).             It not only

prevents jury tampering but also upholds the finality of jury

verdicts and fosters confidence in the judicial process.              See

Commonwealth v. Fidler, 377 Mass. 192, 195 (1979).             Probing

secret deliberations to determine whether the jurors may have

privately agreed on a verdict they never returned would

undermine these fundamental principles.        See Woodward, supra at

471 (juror testimony as to "part which he [or she] took in the

discussions and votes of the jury" is not permissible "because

it relate[s] to the private deliberations of the jury"); Brown

v. State, 661 So. 2d 309, 311 (Fla. Dist. Ct. App. 1995) (even

though postdischarge inquiry asked jurors to "disavow the

nonexistence of a verdict rather than to impeach a verdict

already in existence," it still constituted improper inquiry as

to jurors' mental processes).     Were it otherwise, "[j]urors

would be harassed and beset by the defeated party in an effort

to secure from them evidence of facts" that might be used to set

aside a final verdict (citation omitted).        Fidler, supra.
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     Nor is the defendant merely seeking juror testimony as to a

"mistake" entered on a final verdict slip.         See Mass. G. Evid.

§ 606(c) (2024) (permitting juror testimony about mistakes "made

in entering the verdict on the verdict form").          Here, there is

no suggestion that the jury's failure to return a verdict was

the result of a clerical error.      The posttrial accounts do not

dispute that the jurors had reached an impasse, as they

reported, and had decided not to return a verdict slip on any

charge, as occurred.    Contrast Brown, 367 Mass. at 27-28, and

cases cited (permitting testimony to correct clerical mistakes

in verdict where jury, without outside influence, "immediately

indicated" error in announced verdict).        No juror expressed

surprise or disagreement in court when the judge declared a

mistrial based on the jury's report that they could not reach a

unanimous verdict on "the charges."        Contrast Latino v. Crane

Rental Co., 417 Mass. 426, 431 (1994) (juror inquiry permissible

where jurors audibly answered "no" during polling of jury).

     Additionally, the limited exception for juror testimony

concerning mistaken verdicts only results in alteration of a

verdict where there has been no "opportunity for outside

influence."   Brown, 367 Mass. at 29, and cases cited.           Cf.

Commonwealth v. DiBenedetto, 94 Mass. App. Ct. 682, 684–685

(2019).   Here, all the defendant's affidavits concern jurors'

accounts to others after leaving "the control of the court."
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Brown, supra at 28.    See Dietz v. Bouldin, 579 U.S. 40, 49

(2016); State v. Edwards, 15 Wash. App. 848, 850–852 (1976)

(when jury leave "the sterility of the court's control . . .

contamination is presumed").     A posttrial inquiry of these

jurors would similarly occur well after they became susceptible

to outside influences and would not provide a recognized basis

for altering the result of the first trial.         See Commonwealth v.

Johnson, 359 Pa. 287, 293–294 (1948) (court could not alter

verdict of acquittal upon learning that jury had intended to

convict defendant of lesser offense, where jury "had ample

opportunity" to clarify or express disagreement with original

verdict when it was announced in open court prior day).            Thus,

the trial judge did not err or abuse her discretion in denying

the defendant's request for such an inquiry where it would not

change the outcome of the defendant's first trial.           The jury

chose to report a deadlock, not a verdict, and no basis exists

for further investigation into private discussions or subjective

beliefs they declined to announce publicly in open court.

     Conclusion.   For the reasons stated above, the trial judge

correctly denied the defendant's motion to dismiss and request

for a posttrial juror inquiry.     The case is remanded to the

county court for entry of a judgment denying the defendant's

petition for relief.

                                       So ordered.
